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                                            Exhibit 2
FILED: NEW YORK COUNTY CLERK 05/20/2019 01:08 PM                                                                                                                                                         INDEX NO. 652987/2019
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                                                                                    JOSEPR               &    KIRSCHENBAUM                       LLP
                                                                      ATTORNEY                           RETAINER                      AGREEMENT


             This        confirms             that     you,         the     undersigned                  client(s)          Michelle            Kozlowsky                (hereafter              "Client"),             have
             retained         Joseph             &       Kirschenbaum                        (hereafter             "JK")          as attorneys-at-law                        to     represent               you       in     all
             claims         for       violations               of     State         or      Federal            Labor          Laws        and       any      other        related              laws       against             La
             Marina         Restaurant                and       any        related          entities          and/or        individuals            (hereafter            "Defendant").


             It is understood                   and        agreed          upon,           by and         between             Client      and JX,          as follows:


                    1,      JK has agreed                      to accept            this     engagement.                   If this      claim       is governed                by the law               of any state
                            other       than         New        York,         our          acceptance              is subject           to approval          by        local        counsel.            While  it is a

                            rarity       that        local      counsel             will         not approve,              we will        notify       you       of our            local       counsel's
                            approval             or disapproval                     as soon             as possible.
                    2.      You        will      be reasonably                     available             to confer            with      us, provide          us with               copies        of all
                            documents                 and       information                  and,disclose               all     facts     and      circumstances                    that       we reasonably
                            need        to know              to properly              represent               you      in this       matter.        This     includes               informing             JK of any
                            deadline             set forth           to you          by a state               or government                administration                 agency,           such          as the
                            EEOC              or DFEH.                Unless          we specifically                   request           otherwise,             you     agree           to retain           originals
                            of any        and         all documents                   that you send                    to JK.
                    1       You        will      promptly                 return         telephone             calls     and       correspondence                  from            our     office,       comply             in

                            filling       out        required              forms,          and       assist       us in meeting                deadlines          and     locating              witnesses,
                            documents                 and       evidence.
                    4,      You        should            not    email         anything                from   a company                   account,          nor    text   a company
                                                                                                                                                                              using    cell

                            phone,            nor     send          instant        messages               or otherwise                 communicate                us using an employer-
                                                                                                                                                                  with
                            owned             device,          but        instead          use a personal                  email        account       on a personal   device,  or text

                            using        a personal                 cell     phone.
                    5e      You        should            never        discuss              the      status     of settlement              negotiations                 with        anyone,             including
                            anyone             connected               with        Deferamt,                  or your  case may be prejudiced.      This is because       if the
                            defendant                wishes           to settle            your       case     the defendant   will typically  insist on confidentiality;

                            and,       if settlement                  information                   is made         public         the defendant              may        be less willing                     (or

                            unwilling)      to settle.
                    6.      No fee shall be charged            for                           the attorney(s)                  if there      is no recovery.
                                                       attorneys'
                    L       Client     agrees that                                               fees     shall     be the greater                of (a) one           third         (l/3)       of the amount
                            recovered                for     you       from         the defendant                   in excess           of any      amounts              already             offered         by
                            Defendants,                    whether
                                                         by settlement     or judgment                                                  or otherwise              (calculated                  after     costs
                            incurred     by   JK  are deducted)    or  (b) if attorneys                                                 fees     are awarded              in a judgment,                      the total
                                           attorneys'
                            award    for                fees, or (c) in an unusual                                                   circumstance                and     only         upon        the consent                 of
                            both       you       and
                                                  counsel,                     JK's          full       lodestar        amount           (current         hourly         rate        titnes       hours         spent).
                            This       percentage    - our                    portion             of the gross              settlement            amount        - will          also         be used          to pay,         if

                            necessary,                the fee of any                  other          counsel,          and/or          a fee to the firm                that       referred            you      to us.
                                                         recovered"
                            The        "amount                                        includes               the gross          pretax      amount           received,               including            the      value
                            of any        benefits              you        would           not       otherwise          have         received.         If, for      your           matter         and prior            to the
                            date       of this           agreement,                you       had        already        received           a legally         binding            and         documented                 offer
                            of settlement                    from          defendant,              attorney          fees will           only     be applied         to the enhanced                            portion
                                                                                                                   recovered"                                        attorneys'
                            of the settlement                        value.         The          "amount                                  (and,     thus,        the            fees)                        is
                            computed                 after      the deduction                       of any        actual       out-of-pocket               costs,        disbursements                       and      other
                            expenses                 of case         management                      paid   by JK. "Out-of-pocket       costs, disbursements,                                                   and     other
                            expenses"
                                                      refers         to expenditures                     such as charges    for copies,   postage,   delivery                                            services,
                            medical             bills,       mediators,               costs          incurred          due to legal             or other         research,               charges          for

                            transcripts,               and      expert         witness               fees.        These        costs      are not      attorney           fees           but    rather        are
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                        typically           expenditures                      charged      by third-party vendors.                            Client      is responsible                 for     such         costs
                        incurred            in the macagemcat                           of your case and will pay                             JK promptly              upon        receipt            of an
                        invoice         by        JK      for     such        expenses       during             the course            of the case.
                 8.     Client         hereby            authorizes              JK     to associate             any       other      attorney         in representing                 Client,          with
                        the     consent            of Client,             without            additional          costs        to Client.
                 9.     This         matter        shall         not     be settled           without           the consent            of Client.
                 10. JK has not                   and      cannot             guarantee          that     we will            be able        to obtain         any      particular          result        or
                        success          in this          matter.
                 11. JK         shall       not      be required                to file       or respond           to any appeal   in this                    matter,        nor       to provide              any
                        services            of collection,                    or otherwise,             after     settlement  or judgment                        has been              reached.
                 12. The          JK fee stated                   here        in is not        set by law,             but     has been         negotiated             between           JK      and
                        Client.
                 13. Whenever                   a verdict,              judgment,              award        or settlement                  is obtained         in this       matter,           the
                        undersigñêd                    client(s)         hereby         gives       power          of attorney              to JK      to sign         the client(s)            name           to

                        any      and     all releases,                  dismissals,             fonns,          checks,          drafts,      and other         papers         and      to deposit              the
                        proceeds              into      JK's          trust     account,         and      to distribute               the funds          in accordance                 with      this

                      Attorney                Retainer             Agreement.
                 I 4. We will               be readily                available         to represent              your        best     interests,        keep       you      informed                about
                        your         case      and        answer      any          questions            you      have         about        the way       your       case     is being handled.
                        If the Client                disputes        any portion   of JK's fee you may have the                                                right      to Fee Arbitration
                        pursuant            to Part             137 of 22 N.Y.C.R.R.      Forms  will be provided                                              upon        request.
                 15. If, without                  the consent                  of JK,     you      settle       this      matter       or retain         another          attorney,            this
                        agreement                 shall         nevertheless              remain   binding                   to the full        extent        of the      law.      We will             seek
                        attorneys'
                                               fees        and will            apply      an hourly     rate of Four Hundred        and                             Fifty        Dollars         ($450.00)
                        per hour,             if based            on quantum               meruit,   or   will seek a proportionate                                  share        of the        legal         fees
                        if legally            permitted                to do so.             We will          also        seek     all out-o      f-pocket          costs        incurred     by JK                 in
                        connection                with          our     representation                  of you        until      the time        of the substitution                    of new
                        counsel.
                 16. If, at any               time      during    the investigation                           and preparation                  of this        case,     JK    decides            there         is
                     insufficient                    merit   in proceeding      further,                         JK       may      withdraw,           with     pennia3ion               of a court,
                        when          necessary,                 without         any further              obligation             whatsoever          by the Client   or JK.
                 17. You       may terminate                           this     Agreement    at any time.                          If you      terminate   this Agreement                             prior         to
                        a resolution   of this                         matter      or if we withdraw   for                         good       cause,     and     you       acquire   a recovery

                        by other            means or representation,                               you      understand                we will       have       a right       to request   legal
                        fees and            reimbursement    for any                            expenses.




             I have     read      all of the            above,           and      understand              and     agree          to all of it.



             1hereby      acknowledge                      receipt            of a copy         of this         Attomey            IteWinerAgreenient


             Accepted          by:




             Connie      Rodriguez                                                    Clie                  a         e                                                            e




             bhiore                                        num                        Attomey               gnature
